

People v Diaz (2021 NY Slip Op 01238)





People v Diaz


2021 NY Slip Op 01238


Decided on March 02, 2021


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: March 02, 2021

Before: Gische, J.P., Mazzarelli, González, Mendez , JJ. 


Ind No. 1851/16 Appeal No. 13233 Case No. 2019-1298 

[*1]The People of The State of New York, Respondent, 
vMiguel Diaz, Defendant-Appellant.


Caprice R. Jenerson, Office of The Appellate Defender, New York (Stephanie Sonsino of counsel), for appellant.
Darcel D. Clark, District Attorney, Bronx (Daniel J. Young of counsel), for respondent.



An appeal having been taken to this Court by the above-named appellant from a judgment of the Supreme Court, Bronx County (Ethan Greenberg, J.), rendered June 28, 2018
Said appeal having been argued by counsel for the respective parties, due deliberation having been had thereon, and finding the sentence not excessive,
It is unanimously ordered that the judgment so appealed from be and the same is hereby affirmed.
THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: March 2, 2021
Counsel for appellant is referred to
§ 606.5, Rules of the Appellate Division,
First Department.








